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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
v.                                                §          Case Number: 3:19-CR-00327-M
                                                  §
OMER KUZU (01),                                   §
                                                  §
       Defendant.                                 §
                                                  §

                        SCHEDULING ORDER FOR SENTENCING

        Should counsel for the defendant desire to be present for the initial interview between the

defendant and the probation officer, counsel must arrange to do so within three government

business days from the date of this order.

        The Presentence Report must be disclosed to the Court, the defendant, defendant’s counsel,

and the attorney for the Government, via electronic filing, by November 25, 2020.

        Written objections to the Presentence Report, or a written statement adopting the findings

of the Presentence Report, must be electronically filed by December 9, 2020. IF THEY HAVE

NO OBJECTIONS, BOTH THE GOVERNMENT AND THE DEFENDANT ARE

REQUIRED TO FILE A WRITTEN STATEMENT STATING THEY HAVE NO

OBJECTIONS.

        If written objections to the Presentence Report have been timely made, the Probation Office

must electronically file any addendum to the Presentence Report by December 30, 2020.

        Written objections to this addendum must be electronically filed by January 6, 2021.

        Sentencing of the Defendant is SET for January 22, 2021 at 1:30 p.m.

        Any motions for downward departure and sentencing memoranda must now be

electronically filed on or before January 15, 2021. Character letters shall be e-mailed directly to


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the Court Coordinator, Alicyn Anthony, at Alicyn_Anthony@txnd.uscourts.gov, or mailed or hand

delivered on or before January 15, 2021. No courtesy copies are required.

       If, during the presentence report ("PSR") investigation, it is determined that Texas Youth

Commission ("TYC") records are needed, the court orders the TYC to release these records to the

Probation Officer assigned to prepare the PSR, acting in the performance of the officer's official

duties pursuant to Fed. R. Crim. P. 32. The specific records that are to be released include

documents pertaining to the defendant's social history, court disposition records, substance abuse

treatment records, psychological evaluations, other mental health treatment records, educational

records, general health records, adjustment while incarcerated records, and release dates from the

TYC.

       If a continuance is entered that is not requested by the defendant and the new

sentencing date would cause the defendant to be in custody longer than the bottom of the

applicable guideline range, counsel should request an earlier setting from the Courtroom

Deputy, Alicyn Anthony.

       Questions relating to this Order are to be directed to Alicyn Anthony, at

Alicyn_Anthony@txnd.uscourts.gov, (214-753-2421).



       SO ORDERED.

       September 2, 2020.


                                             ___________________________________
                                             BARBARA M. G. LYNN
                                             CHIEF JUDGE




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